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VERDICT SHEET

Re: Koehler v. MTA
CV 16-3
September 15, 2022

Federal Employer Liability Act PELA)

1. Has Plaintiff proven, by a preponderance of the evidence that the MTA was negligent?
YES 4 NO
If YES, Proceed to answer Question 2.
If NO, DO NOT answer Question 2 and inform the Clerk.

2. Has Plaintiff proven, by a preponderance of the evidence, that the MTA's negligence
caused the Plaintiff's injuries, no matter how slightly?

YES VY NO
If you have answered YES to BOTH Questions 1 AND 2, Proceed to Answer Question 3.

If you have NOT answered YES to BOTH Questions 1 AND 2 inform the Clerk.
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Damages Instructions

Answer “Damages” ONLY IF
You have answered YES, to Questions 1 AND 2.

3. What damages, if any, is Plaintiff entitled to recover?

A. Past Lost Wages and Overtime:

§ 31S; OOO

B. Past physical pain and suffering and emotional suffering:

$ Ga, SCO

C. Future physical pain and suffering and emotional suffering:

$ Ga, SOO

 
